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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH CAROLINA
                                 (COLUMBIA DIVISION)



SAMUEL R. FLOYD, III on behalf of
Himself and all others                               No: 3:19-CV-03304-MBS
similarly situated,
                                                     CLASS ACTION
Plaintiff,
                                                     JURY TRIAL DEMANDED
v.

Deloitte & Touche, LLP,
Deloitte LLP,

Defendants.


  SAMUEL R. FLOYD III’S NOTICE OF FILING AND NOTICE OF NON-
 OPPOSITION TO IBEW LOCAL 98’S MOTION FOR APPOINTMENT AS
         LEAD PLAINTIFF AND APPROVAL OF LEAD COUNSEL
______________________________________________________________________________

        Lead Plaintiff movant Samuel R. Floyd III (“Floyd”) respectfully submits this notice of

filing and notice of non-opposition to IBEW Local 98’s motion for appointment as lead plaintiff

and approval of lead counsel in the above-captioned action.

        On January 16, 2020, Floyd timely filed its motion for appointment as lead plaintiff and

approval of lead counsel in connection with this action. Having reviewed IBEW Local 98’s

competing motion seeking appointment as lead plaintiff, it appears that IBEW Local 98 has the

“largest interest in the relief sought by the class,” as required by the PSLRA. §15 U.S.C. 78u-

4(a)(3)(B)(iii)(I). Accordingly, the Floyd does not oppose IBEW Local 98’s motion for

appointment as lead plaintiff.

        This notice is without prejudice to the Floyd’s right to participate in this action as a

member of the proposed class, including the right to share in any recovery obtained in the action.
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Dated: January 31, 2020

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Counsel for Samuel R. Floyd III and
Proposed Liaison Counsel for the Class




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